                     Case 25-15437           Doc 12       Filed 06/18/25        Page 1 of 1
                     Case 25-15437           Doc 11       Filed 06/18/25        Pag e 1 of 2

                IN THE UNITED STATES BANKRUPTCY COURT F O R
                             T HE DISTRICT OF MARYLAND
                                     Baltimore Division
    In Re:                                              )
                                                        )     Chapter 7
           Brandon Michael Chasen, Sr                   )
                                                        )     Case No.
           Debtor.                                      25-15437 ) )

                                        NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Andre R. Weitzman (“Counsel”) hereby appears in the

above captioned bankruptcy case as counsel for Steven C. Tourkin and Heather Tourkin

creditors in this case, and such Counsel hereby enters his appearance, and requests, pursuant to

Sections 342 and 1109(b) of the Bankruptcy Code and Rules 2002, 3017, 9007 and 9010 of the

Bankruptcy Rules, that copies of all notices and pleadings given or filed in this case be given and

served upon:

                                    Andre’ R. Weitzman
                                    Equity House II
                                    410 Northway
                                    Baltimore, MD. 21218
                                     Aequityhouse@aol.com



Date: June 18, 2025                                            /s/ Andre’ R. Weitzman
                                                                   Andre’ R. Weitzman
                                                                     Equity House II
                                                                      410 Northway
                                                                 Baltimore, MD. 21218
                                                                    Aequityhouse@aol.com


                                    CERTIFICATION OF SERVICE

          I certify that on this 18 th day of June 2025, a true and correct copy of the foregoing was filed
electronically with the Court through the ECF filing system with notice being automatically provided to all
parties requesting notice.




                                                                        /s/ Andre” R. Weitzman
